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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                              MIDLAND/ODESSA DIVISION

 VIRTAMOVE, CORP.,                            §
   Plaintiff,                                 §
                                              §
                                                    NO: MO:24-CV-00030
 v.                                           §
                                              §
 AMAZON.COM, INC., ET AL.                     §
   Defendants.                                §



                                   ORDER TO TRANSFER

       The above-named and numbered case is transferred from the docket of U.S. District
Judge David Counts to the docket of U.S. District Judge Alan Albright, both judges having
consented to the transfer.
       It is therefore ORDERED the above-named and numbered case is hereby
TRANSFERRED to the docket of U.S. District Judge Alan Albright. Pursuant to the Order
Assigning the Business of the Court, the Clerk shall credit this case to the percentage of business
of the receiving Judge. All Orders shall remain in effect unless otherwise ordered by Judge
Albright.
       It is so ORDERED.
       SIGNED this 30th day of May, 2024.




                                             DAVID COUNTS
                                             UNITED STATES DISTRICT JUDGE
